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                          UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF NEW YORK


VR OPTICS, LLC,
                                                   Civil No. 16-6392 (JPO)
     Plaintiff,

v.

PELOTON INTERACTIVE, INC., a Delaware
Corporation,

    Defendant.
______________________________________

PELOTON INTERACTIVE, INC.,

     Third-Party Plaintiff,

v.

VILLENCY DESIGN GROUP, LLC, ERIC
VILLENCY and JOSEPH COFFEY,

     Third-Party Defendants.



     PLAINTIFF AND THIRD-PARTY DEFENDANTS’ MEMORANDUM OF LAW
            IN SUPPORT OF MOTION FOR SUMMARY JUDGMENT


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                                PRELIMINARY STATEMENT

        Peloton Interactive Inc. (“Peloton”) is now a $4 billion company, built on the success of its

fitness products, the Peloton Bike and the Peloton Tread. On the road to this success, however,

Peloton infringed existing intellectual property rights. Peloton’s founders knew from the start that

the interactive technology they were using in their fitness products was already the subject of a

preexisting patent. Peloton nevertheless decided to take a gamble and move forward, knowing full

well that the patent existed and posed a threat to its business, but hoping that no one would assert

the patent against it.

        Plaintiff VR Optics, LLC (“VRO”) bought the patent in July 2016, and filed this patent

infringement lawsuit against Peloton in August 2016. Faced with massive liability, Peloton

concocted a theory under which VRO and/or Third-Party Defendant Villency Design Group

(“VDG”) – the company that designed the unique and eye-catching physical bike frame for Peloton

– were somehow responsible for Peloton’s patent infringement. As discussed below, Peloton’s

counterclaim and third-party claims all fail because VDG was hired to design a cool-looking

stationary bike frame, and that is exactly what it did, by creating what Peloton calls a “beautiful”

and “iconic” aesthetic design. VDG was not hired to create the technology used in Peloton’s

products, and VDG certainly was not hired to be Peloton’s patent counsel or search agent. Indeed,

Peloton admits that it did not rely on VDG for such purposes. Peloton knew it was infringing on

the patent, and Peloton alone is responsible for its own conduct.

                                 RELEVANT BACKGROUND

        Plaintiff and Third-Party Defendants incorporate herein, and respectfully refer the Court

to, their Local Rule 56.1 Statement of Material Facts. For ease of reference, Plaintiff and Third-

Party Defendants provide the following summary of the relevant facts:




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       In 2011, John Foley set out to develop a fitness bike platform that would simulate, at home,

the experience of a live, interactive cycling fitness class by connecting individual users to one

another through the internet. In 2012, Foley, along with a group of “tech leaders,” founded Peloton

Interactive, Inc. to develop this product (the “Peloton Bike”) and bring it to market. This

technology, however, was already patented under Patent 6,902,513 “Interactive Fitness Equipment”

(the “513 Patent” or “Patent”). Foley and the other founders of Peloton were aware of the ‘513

Patent already in 2012, and they hired patent counsel



                Peloton then made a business decision not to purchase the Patent and to proceed

with developing and marketing the Peloton Bike.

       Part of Peloton’s plan was to design an eye-catching bike frame, to be coupled with

Peloton’s own interactive technology that would simulate the fitness class experience. Foley saw

the spin bike that VDG had designed for SoulCycle, another company in the fitness bike space,

and thought that the design stood out. Peloton approached VDG to discuss retaining VDG to

design the physical bike. In April 2012, Peloton and VDG entered into the Design, Development

and Manufacturing Agreement (the “2012 Agreement”). (Id. ¶ 53; Doherty Decl. Ex. 17.) Under

the 2012 Agreement, VDG agreed to design for Peloton the physical bike frame, including the

non-technological elements appended to the frame like the pedals and handlebars, and to source

and manage the relationship with a Taiwanese manufacturer of the physical bike frame. VDG

represented to Peloton that the physical bike frame would be an original work and would not

infringe on any existing intellectual property. VDG did not agree to (and did not) design or provide

the interactive technology used to simulate the interactive fitness experience. Nor did VDG’s

principals, Eric Villency and Joseph Coffey, have the educational background or experience in




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computer programming or electrical engineering necessary to contribute such technology. Villency

took over his grandfather’s furniture design business, and made a career designing things like

workout benches and dumbbells and other fitness accessories, and Coffey is a non-practicing

attorney. Peloton’s founders, on the other hand, had both the relevant educational background and

business experience, especially Yony Feng, whom Peloton refers to as its “technological guru.”

As Peloton’s COO admitted at his deposition, Peloton certainly did not rely on any representation

from VDG about whether the interactive technology Peloton coupled with the bike frame VDG

designed did or did not infringe any existing intellectual property. VDG did not make any such

representation, was incapable of making any such representation, and it would have been absurd

for Peloton to ask for or rely on any such representation from VDG.

       Peloton was ecstatic with the bike frame VDG designed. As one of the founders put it,




       In 2014, Peloton and VDG renegotiated their arrangement and entered into the Bike

Development and Services Agreement (the “2014 Agreement”). (Id. ¶ 89; Doherty Decl. Ex. 45.)

Under the 2014 Agreement, VDG continued to be responsible for managing the manufacture of

the bikes and also took on the additional responsibility of handling customer returns. But even as

the parties were entering into the 2014 Agreement, Peloton already had begun to think of the

relationship as                                                        In January 2015, Peloton

transitioned in-house, away from VDG, oversight of the manufacture of the bikes and then notified

VDG that VDG would no longer be handling the return service. By the time the two-year term of




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the 2014 Agreement ended in June 2016, VDG had played virtually no role for more than six

months.

       In or about January 2016, VDG separately began looking into the possibility of purchasing

the ’513 Patent. The inventor of the ‘513 Patent was Daniel McClure. Microsoft Corporation

purchased the Patent from McClure in 2012. In June 2016, Coffey and Villency formed a new

entity, VR Optics, LLC, and that entity purchased the ‘513 Patent from Microsoft. Coffey and

Villency offered to license the Patent to Peloton, but Peloton declined. In August 2016, VRO filed

this case, asserting claims of patent infringement against Peloton.

                                             ARGUMENT

I.     VDG IS ENTITLED TO SUMMARY JUDGMENT ON PELOTON’S BREACH OF
       CONTRACT CLAM.

       Count One of Peloton’s Amended Third-Party Complaint alleges that, “[t]o the extent that

the Peloton Bike infringes on the ‘513 Patent,” as alleged by VRO in this case, “Villency Design

Group breached the [2012 Agreement and 2014 Agreement] whenever it represented and

warranted under each agreement that the Peloton Bike did not infringe upon the rights of any third

parties” and “breached the [2012 Agreement and 2014 Agreement] because it represented and

warranted under each agreement that the Peloton Bike would not infringe upon the rights of any

third parties.” (Am. Third-Party Compl. ¶¶ 76, 79.) Peloton’s breach of contract claim fails

because, under the plain language of the agreements, VDG only represented that the physical bike

frame design it provided under the agreements – its own work –would not infringe any intellectual

property right and Peloton does not (and cannot) claim that that physical bike frame design

infringes on the ‘513 Patent. It does not.

       VRO’s patent infringement claim is that the technology Peloton uses to coordinate

communication among its bikes (and other fitness equipment) to simulate an interactive exercise



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event, like an exercise class, infringes the ‘513 Patent. (See Compl. ¶¶ 9-10, 14-15.) VDG did not

provide this technology to Peloton, and VDG did not warrant and represent that Peloton’s own

technology would not infringe on any third party’s intellectual property rights. Therefore, VDG

is entitled to summary judgment on Peloton’s breach of contract claim.

        A.      VDG Did Not Breach Any Representation or Warranty.

                1.      VDG Only Represented That VDG’s Own Design Did Not Infringe
                        Any Other Parties’ Intellectual Property.

        Peloton alleges that, “[t]hrough both the [2012 Agreement] and the [2014 Agreement],

Villency Design Group represented and warranted that the Peloton Bike does not and will not

infringe upon the rights of any third parties, including any intellectual property rights.” (Am.

Third-Party Compl. ¶ 72.) This allegation is contrary to the plain language of the parties’

Agreements: The Agreements unambiguously provide that VDG represented that its own design

work would not infringe anyone else’s intellectual property rights. VDG did not represent, and

did not have the expertise, capacity, or knowledge to represent, at the time the Agreements were

executed or thereafter, that the entire Peloton Bike product, in which Peloton combined VDG’s

design of the physical bike frame with Peloton’s own and separate interactive technology, would

not infringe any intellectual property then in existence. Peloton’s assertion that the parties’

Agreements should be interpreted to include a guarantee by VDG that the entire Peloton Bike

product, conceived of by John Foley, who relied upon the counsel of his own patent attorney, did

not violate any third-parties’ intellectual property rights, is contrived.

        It is undisputed that VDG’s bike frame design did not violate any patents. (R.56.1 ¶ 128.)

Peloton’s allegation that VDG guaranteed more than the physical bike frame is based on a selective

and misleading quotation of the language of the Agreements.                  The Amended Third-Party

Complaint alleges:



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               In section 2.7, Villency Design Group expressly represented and warranted
               that, among other promises, “the Bike Intellectual Property does not and
               will not infringe upon the rights of any third party.”

(Am. Third-Party Compl. ¶ 46 (quoting § 2.7(c) of the 2012 Agreement); see also Am. Third-

Party Compl. ¶ 61 (quoting § 8.2(a)(3) of the 2014 Agreement).) The full text of VDG’s

representation, however, is as follows:

               All Bike Intellectual Property provided by Villency is, has been and will be
               originally created exclusively by Villency and that the Bike Intellectual
               Property does not and will not infringe upon the rights of any third party.

(Doherty Decl. Ex. 17 § 2.7(c) and Doherty Decl. Ex. 45 § 8.2(a)(3).) The plain, unambiguous

meaning of this representation, read as a whole, is that whatever VDG creates for Peloton under

the Agreements will be an original work created by VDG. It was.

       The definition of “Bike Intellectual Property” also makes crystal clear that “Bike

Intellectual Property” means the intellectual property rights to the work created by VDG under the

Agreements and that VDG’s representation regarding Bike Intellectual Property is limited to

intellectual property created by VDG:

               Only upon full payment of the base fee set forth in Section 1.8(i) below,
               Peloton shall be the sole and exclusive owner of all intellectual property
               relating to the Device Bikes, including, without limitations, all designs
               (including without limitation, those created by Villency prior to or during
               the term of this Agreement), inventions, improvements, discoveries, data,
               concepts, ideas, processes, methods, techniques, know-how, and
               information respecting the Bikes conceived, made or produced by Villency
               prior to and/or during the course of performing the Product Development
               Services and/or Manufacturing Services under this Agreement, or made or
               produced as the result of the joint efforts of Peloton and Villency prior to or
               during the term of this Agreement (collectively, the “Bike Intellectual
               Property”). For the purpose of clarity, upon payment of the base fee,
               Villency agrees that all Bike Intellectual property created by Villency under
               this Agreement, shall be considered a specially commissioned “work for
               hire” as that term is used in Section 101 of the U.S. Copyright Act of 1976
               (as amended), and all right, title, and interest (including, without limitation,
               copyrights, trademarks, and patent rights) in the Bike Intellectual Property
               shall belong to Peloton. To the extent that by operation of law or otherwise,
               Bike Intellectual Property is not deemed a work for hire, Villency herby


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               assigns to Peloton all right, title and interest in and to any Bike Intellectual
               Property created by or contributed to by Villency. Villency agrees to
               execute, at Peloton’s request and expense, all documents and other
               instruments necessary or desirably to confirm Peloton’s rights as set forth
               in this Section.

(Doherty Dec. Ex. 17 § 1.7(a).) In this provision, VDG agreed that, in exchange for payment,

VDG would transfer and assign to Peloton, and Peloton would become the exclusive owner of, the

Bike Intellectual Property, which can only refer to intellectual property VDG created because

VDG could not agree to sell and transfer to Peloton intellectual property created by and belonging

to others.

        The other provisions of the Agreements regarding intellectual property confirm this

interpretation. In section 1.7(b) of the 2012 Agreement, the parties agreed that “Peloton shall have

the sole and exclusive right to prepare, file, prosecute and maintain trademark applications or other

intellectual property registrations with respect to the Bike Intellectual Property.” (Doherty Decl.

Ex. 17.) Likewise, in section 1.7(b) of the 2014 Agreement, the parties agreed that “Peloton shall

have the sole and exclusive right to prepare, file, prosecute and maintain trademark, trade dress,

patent, copyright and/or other intellectual property applications and registrations with respect to

the Bike Intellectual Property.” (Doherty Decl. Ex. 45.) Again, VDG could only agree to grant

Peloton these rights with respect to intellectual property VDG owned – that is, VDG’s intellectual

property rights in the work it was creating for Peloton under the Agreements. It was not within

VDG’s power to grant any other intellectual property rights to Peloton. “Bike Intellectual Property”

clearly only refers to VDG’s rights in what VDG itself created.

        VDG also reserved for itself some continuing use of the Bike Intellectual Property. In the

2012 Agreement, the parties agreed:

               VILLENCY USE OF BIKE INTELLECTUAL PROPERTY. Villency shall
               be permitted to use the industrial design and photo renderings of the Bikes
               for its own promotional and marketing efforts including but not limited to


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                press releases, website, case studies and presentations, to the extent the
                Bikes have been published or displayed to the general public.

(Doherty Decl. Ex. 17 § 1.9.) In the 2014 Agreement, the parties agreed:

                VILLENCY USE OF BIKE INTELLECTUAL PROPERTY. Villency shall
                be permitted to use the industrial design, actual bike and photo renderings
                of the Bikes for its own promotional and marketing efforts including but not
                limited to press releases, website, case studies, television appearances and
                presentations.

(Doherty Decl. Ex. 45 § 1.9.) If “Bike Intellectual Property” meant any intellectual property at all

related to the Peloton Bike, even if not created by VDG, it would make no sense for the parties to

agree that VDG could retain rights with respect to that intellectual property because VDG never

owned it or had any rights to it in the first place.

        Reading the Agreements as a whole, it is clear that “Bike Intellectual Property” means the

intellectual property rights to the work created by VDG itself and that VDG only represented that

the work VDG itself contributed would not infringe any other person’s intellectual property rights.

See Law Debenture Tr. Co. v. Maverick Tube Corp., 595 F.3d 458, 467-68 (2d Cir. 2010) (noting

that contract clauses must be “read in the context of the entire agreement,” and “[t]he court should

read the integrated contract as a whole to ensure that undue emphasis is not placed upon particular

words and phrases”). Therefore, VDG is entitled to summary judgment.

                2.      VDG Did Not Provide the Interactive Technology Peloton Uses to
                        Simulate Exercise Classes, Which Is the Technology that VRO
                        Claims Infringes the ‘513 Patent.

        It is undisputed that VDG’s bike frame design does not violate the ‘513 Patent or any other

third-party intellectual property. (R.56.1 ¶ 128.) Moreover, it is clear that VDG did not provide

the interactive technology Peloton uses to simulate exercise classes, which is the technology that

VRO claims violates the ‘513 Patent. Therefore, VDG is entitled to summary judgment on

Peloton’s breach of contract claim.



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       VRO claims that Peloton’s Bike and Tread products, and the technology Peloton uses to

enable its fitness equipment to communicate with each other, infringe the ‘513 Patent. The

invention of the ‘513 Patent “is generally directed to a computerized fitness equipment that is

designed to simulate, emulate, or implement actual race conditions with other users” through the

use of “sensors to monitor performance parameters,” a visual display, and a “communication

interface … to communicate the first performance parameters to at least one remote, similarly

configured, fitness equipment.” The equipment also includes “logic to provide a visual display of

a user’s performance (as measured by the first performance parameters)” and “logic to compare”

the performance parameters of one user with those of the other, remote user, and “display the

results in a comparative fashion to the user.” (R.56.1 ¶ 101.) Like the invention claimed in the

‘513 Patent, Peloton’s technology coordinates communication among fitness equipment through

its servers to simulate interactive exercise events, such as spinning classes. (Doherty Decl. Ex. 64

(Supplemental Infringement Contentions) at 3, 6, 8-9, 27-28, 31-32.) Each Peloton Bike and Tread

uses sensors to generate performance parameters, such as total output obtained using a speed

sensor and a resistance sensor on the Peloton Bike and a speed sensor and an incline sensor on the

Tread. Total output and other performance parameters are sent to Peloton servers. Peloton ranks

the total output value and sends the rankings and total outputs to other Bikes and Treads so that

users can see these rankings and total output values on displays on their equipment in the form of

a leaderboard. (See, e.g., id. at 8-11, 14-15, 26-28, 31-32.)

       There is no dispute that VDG did not invent any of the interactive technology for Peloton:

       •   According to Peloton’s CEO, John Foley, he was the one who conceived of the concept
           behind Peloton, that is, the “hardware and software platform that is Peloton [that]
           allows you to consume these classes, to take this content, from the convenience of your
           own home.” (R.56.1 ¶ 26.) The name Foley chose for the company, “Peloton
           Interactive,” refers to “a group of riders that ride together to conserve energy. It’s the
           lead pack of a cycling race,” and the



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Thus, Peloton and its expert confirmed what is self-evident:

                                                                                     That is, it has a

substantial non-infringing use. (See MTD Opinion at 7 (“Certainly, if there is no contributory or

direct infringement of the product created pursuant to the Agreements, there is no breach of

contract.”).)

        B.      Peloton Did Not Rely on VDG’s Representation and Warranty.

        Even assuming arguendo that the Agreements could be interpreted to mean that VDG

represented to Peloton that the final Peloton Bike, including its interactive technology, did not and

would not infringe any intellectual property rights whatsoever, Peloton’s breach of contract claim

would still fail because Peloton did not, and could not, rely on any such representation. Therefore,

VDG is entitled to summary judgment on Peloton’s breach of contract claim.

        To prove a breach of an express warranty claim, a plaintiff must prove that the plaintiff

relied on the express warranty to their detriment. See, e.g., Koenig v. Boulder Brands, Inc., 995 F.

Supp. 2d 274, 289 (S.D.N.Y. 2014) (“To state a claim for breach of express warranty, a plaintiff

must allege that there was an affirmation of fact or promise by the seller, the natural tendency of

which was to induce the buyer to purchase and that the warranty was relied upon to the plaintiff’s

detriment.”); see also Merrill Lynch & Co. v. Allegheny Energy, Inc., 500 F.3d 171, 186 (2d Cir.

2007) (“The plaintiff must show that it believed that it was purchasing seller’s promise regarding

the truth of the warranted facts.”). Here, Peloton admits that it did not rely on VDG to represent

that the interactive technology did not infringe the intellectual property rights of any third party.

As Cortese testified:

                “Q. … You were not going to rely on any representation regarding the ‘513
                patent that may have been provided to you by Villency Design Group,
                correct? …

                A. To my knowledge, no. …


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               Q. Peloton was not relying on Villency Design Group to tell Peloton
               whether or not the '513 patent was infringed by the Peloton bike, correct?

                A. We did not ask Villency Design Group for an official opinion on the
               ‘513 Patent, to my knowledge, no.”

(Doherty Decl. Ex. 9, at 325:5-326:5.) To the contrary, Peloton independently learned of the ‘513

Patent in 2012, and Peloton engaged intellectual property counsel, Jonathan Hangarten, Esq. –

whom John Foley described as “the best patent counsel on the planet” – to determine the potential

impact of the ‘513 Patent on Peloton’s business. (See R.56.1 ¶ 103-06.) Hangartner emailed

Peloton



      Peloton then chose not to purchase ’513 Patent and to proceed with developing the Peloton

Bike and bringing it to market. (R.56.1 ¶ 106.)

       Thus, there is no dispute that Peloton did not rely on any representation from VDG as to

whether the Peloton Bike infringed on the ‘513 Patent. Indeed, it would be ludicrous for Peloton

to rely on VDG – whose principals are a furniture designer and a non-practicing attorney, with no

relevant experience or training – to determine whether a patent on an interactive computerized

system was valid or not and whether a particular tech product infringed that patent or not. 3

Therefore, Peloton cannot prove reliance as a matter of law.

       C.      VDG Did Not Breach Section 1.1(g) of the 2014 Agreement.

       Peloton claims that “Villency Design Group’s failure to communicate with Peloton as to

possible infringement after it learned of the ’513 Patent breached Villency Design Group’s

responsibility to give Peloton periodic updates about development issues under the Peloton Bike



3
  Peloton’s claim for indemnification is entirely contingent on its claim that VDG breached its
representation regarding intellectual property. (See Am. Third-Party Compl. ¶¶ 83-86.) Because VDG
did not breach that representation, Peloton’s claim for indemnification fails.


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Development Agreement.” (Am. Third-Party Compl. ¶ 82.) Presumably, Peloton is referring to

Section 1.1(g) of the 2014 Agreement, which provides that “Villency shall in accordance with the

Schedule, communicate on a weekly basis, by written report to Peloton, all Bike development

progress and issues.” (Doherty Decl. Ex. 45 § 1.1(g).) First, as discussed above, Peloton already

knew about the ‘513 Patent in 2012 and discussed possible infringement with its own patent

counsel. Second, this provision has absolutely nothing to do with intellectual property; the

reporting required was about the ongoing manufacturing of the bikes by Peloton’s manufacturer

in Taiwan, Tonic. The “Schedule” Section 1.1(g) refers to is attached to the 2014 Agreement, and

it lists out the manufacturing information VDG was required to provide to Peloton, which included

“importation update detailing containers in transit and scheduled docking dates,” “status update

on production,” “factory inspections,” and a “QC [quality control] report.” (Id. at Ex. A.) This is

the information VDG was required to report to Peloton, not “possible infringement.” Peloton is

relying on this provision only because it cannot locate any express obligation in the Agreements

to disclose what it calls “possible infringement.” Because there was no obligation in the contract

to provide patent compliance advice, VDG has not breached the contract.

II.    VDG IS ENTITLED TO SUMMARY                           JUDGMENT         ON     PELOTON’S
       FRAUDULENT CONCEALMENT CLAIM.

       Count Two of Peloton’s Amended Third-Party Complaint alleges that VDG had “superior

knowledge of Mr. Villency’s and Mr. Coffey’s efforts to acquire the ‘513 Patent and their

impending infringement suit” and that VDG fraudulently concealed “the imminent likelihood of

an infringement claim against the Peloton Bike.” (Am. Third-Party Compl. ¶¶ 90-91.) Peloton

claims that, had it known of the potential infringement, it would not have entered into the

Agreements, and that it “could have purchased” the Patent itself. (Am. Third-Party Compl. ¶¶ 95-

96.) These claims fail because Peloton did not rely to its detriment on any alleged failure to



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disclose. Peloton entered into the Agreements in 2012 and 2014, years before VDG purchased the

Patent; thus, Peloton did not enter the Agreements based on any failure to disclose. 4 Further,

Peloton received from VDG the products and services it bargained for under the Agreements, and

it was by no means damaged by entering into the Agreements. As for potentially purchasing the

Patent, Peloton knew about the ‘513 Patent as early as April 2012, but made an affirmative decision

not to purchase the patent. Indeed, even when Coffey and Villency offered to license the Patent

to Peloton, in August 2016, before this litigation began, Peloton declined. Thus, even if VDG

failed to disclose that it intended to assert the ‘513 Patent against Peloton, that failure to disclose

did not cause any damage to Peloton because Peloton affirmatively decided not to acquire the

Patent and to run the risk that the patentholder (whoever that might be) might assert the Patent

against Peloton in the future. Therefore, VDG is entitled to summary judgment.

       A.      The Alleged Failure to Disclose Could Not Have Induced Peloton to
               Enter into the Agreements.

       “New York recognizes a cause of action to recover damages for fraud based on

concealment where the party to be charged has superior knowledge, such that the transaction

without disclosure is rendered inherently unfair.” Miele v. Am. Tobacco Co., 2 A.D.3d 799, 803

(2d Dept. 2003) (emphasis added) “As several district courts have suggested, such a duty [to

disclose] usually arises … in the context of business negotiations where parties are entering a

contract.” Lerner v. Fleet Bank, N.A., 459 F.3d 273, 292 (2d Cir. 2006) (emphasis added) (internal


4
  To the extent Peloton’s claim for fraudulent concealment is based on a failure to disclose that the
representation regarding intellectual property was going to be breached, that claim fails on its face
because inducing a counterparty to enter a contract by failing to disclose an intent to breach that
contract cannot be the basis of a claim for fraudulent concealment. See TVT Records v. Island Def
Jam Music Grp., 412 F.3d 82, 91 (2d Cir. 2005) (“[T]he intention to breach does not give rise to a duty
to disclose. Instead, the duty to disclose must exist separately from the duty to perform under the
contract.”). Of course, the claim also fails because there was no breach of the representation, because
VDG never made any representation regarding the non-infringement of the interactive technology, as
discussed above.


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quotation marks omitted) (collecting cases). The “typical fraudulent concealment case involves a

plaintiff who, following a material omission by defendant, unwittingly enters into an agreement.”

Highland Capital Mgmt., L.P. v. Schneider, 533 F. Supp. 2d 345, 358 (S.D.N.Y. 2008); United

Merchandise Wholesale, Inc. v. IFFCO, Inc., 51 F. Supp. 3d 249, 270-72 (E.D.N.Y. 2014)

(concluding that plaintiff had not shown that defendant had a duty to disclose where defendant did

not know that plaintiff was “acting on the basis of mistaken knowledge when entering into the …

agreement.”) (emphasis added) (citation omitted).

       Here, there is no dispute that VDG’s alleged failure to disclose its purchase of the ‘513

Patent, and intention to assert it, post-dated entry into the 2012 and 2014 Agreements:



                                                                                  On June 20, 2016,

Coffey and Villency formed VRO and,

                                           (Id. ¶¶ 15, 120.) Thus, there was nothing to disclose to

Peloton in 2012 or 2014 regarding the purchase of the ‘513 Patent. Accordingly, Peloton’s claim

for fraudulent concealment, based upon a fact that did not come into existence until, at the earliest,

January 2016, fails because the alleged failure to disclose post-dates the parties’ entry into the

2012 and 2014 Agreements and could not have caused Peloton to enter into the Agreements and

did not render the transaction of entering into the Agreement in any way unfair.

       B.      Peloton Did Not Rely to its Detriment on the Alleged Failure to Disclose.

       To prove a claim for fraudulent concealment, a plaintiff must prove damages caused by

reliance upon the fraudulent concealment. Manley v. AmBase Corp., 126 F. Supp. 2d 743,758

(S.D.N.Y. 2001) (“In order to prove reliance, [plaintiff must] demonstrate that it was induced to

act or refrain from acting to its detriment by virtue of the alleged misrepresentation or omission.”)

(internal quotation marks and citations omitted). Here, even if Peloton had been induced to enter


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the Agreements by VDG’s alleged failure to disclose its future purchase of the ‘513 Patent (which,

as discussed above, is impossible because of the timing), Peloton was not damaged as a result.

       Peloton’s founders admit that they received from VDG exactly what they bargained for

under the Agreements. Cortese testified that VDG performed its obligations under the 2012

Agreement in full. (R. 56.1 ¶ 84.) Peloton also paid VDG in full under the 2012 Agreement and

never served a default notice or terminated the Agreement. (Id. ¶ 83.) Peloton also extended the

parties’ relationship by entering into the 2014 Agreement. Peloton never sent any default notices

or terminated that Agreement and paid VDG in full. (Id. ¶¶ 98-99.) The 2014 Agreement was

limited to a two-year term and, at the end of the term, Peloton did not enter into a further agreement

with VDG because, at that point, there was no further design work; indeed, Peloton had chosen to

bring VDG’s other functions in-house even before the term of the 2014 Agreement had expired.

(Id. ¶¶ 95-97.) Summing up Peloton’s view on VDG’s performance, Cortese gushed



                                                    Thus, even if Peloton was induced to enter into

the Agreements with VDG as a result of some failure to disclose, Peloton was not damaged as a

result because Peloton received what it bargained for under the Agreements.

       In addition, Peloton knew about the ‘513 Patent as early as April 2012, consulted with

patent counsel, and made the affirmative decision not to purchase the Patent and run the risk of a

patent infringement lawsuit by whomever the owner of the Patent happened to be. A patent

infringement lawsuit was a risk, regardless of whether Peloton entered into the Agreements with

VDG, or VRO’s imminent purchase of the Patent was disclosed, because the Patent existed,

Peloton knew about it, but decided not to purchase the Patent long before VRO purchased it.

Coffey and Villency even offered to license the Patent to Peloton in August 2016, before they




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offered it to anyone else, but even then, Peloton affirmatively decided not to license or purchase

the Patent, instead choosing to risk an infringement suit. (R. 56.1 ¶¶ 122-23.) Therefore, VDG

was not in a superior position to Peloton, which knew of and accepted the risk of a patent

infringement lawsuit by the owner of the ‘513 Patent, whoever that might be. See Morin v. Trupin,

711 F. Supp. 97, 103 (S.D.N.Y. 1989) (“Furthermore, ‘a duty to disclose will not be imposed

unless there is evidence that defendants were ‘on notice’ that plaintiffs were acting upon a mistaken

belief based on inferior information.’”). Therefore, VDG is entitled to summary judgment on

Peloton’s fraudulent concealment cause of action.

III.   VDG DID NOT BREACH THE COVENANT OF GOOD FAITH AND FAIR
       DEALING.

       Count Three of Peloton’s Amended Third-Party Complaint alleges a claim against VDG

for breach of the covenant of good faith and fair dealing premised upon the allegation that, “[i]n

order to deprive Peloton of the benefits of each of the Peloton Bike Design Agreement and the

Peloton Bike Development Agreement, Villency Design Group ... formed VR Optics to acquire

the ‘513 Patent and assert it against Peloton” (Am. Third-Party Compl. ¶ 101), and that “[b]y

forming VR Optics, acquiring the ’513 Patent, and asserting the ’513 Patent against Peloton,

Villency Design Group acts to withhold the benefits of both the Peloton Bike Design Agreement

and the Peloton Bike Development Agreement from Peloton” (id. ¶ 102). VDG is entitled to

summary judgment because the parties entered into a very specific, arms-length contract in which

the parties laid out in detail exactly the competitive conduct VDG was prohibited from engaging

in. Asserting a patent infringement claim is not one of the things VDG was barred from doing,

and Peloton cannot now expand the scope of that negotiated provision via a claim for breach of

the duty of good faith and fair dealing. The parties’ Agreements also specify the services VDG

was to perform for Peloton, and there is no dispute that VDG performed those services to Peloton’s



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overwhelming approval. Because Peloton received the full benefit it bargained for, VDG is

entitled to summary judgment on Peloton’s breach of the duty of good faith and fair dealing claim.

        “Implicit in all contracts is a covenant of good faith and fair dealing in the course of

contract performance.” Dalton v. Educ. Testing Serv., 87 N.Y.2d 384, 389 (1995). “This

[covenant] embraces a pledge that neither party shall do anything which will have the effect of

destroying or injuring the right of the other party to receive the fruits of the contract. .... The duty

of good faith and fair dealing, however, is not without limits, and no obligation can be implied that

would be inconsistent with other terms of the contractual relationship.” Id. (internal citations

omitted). Thus, “[t]he boundaries of the duty do not ... extend so far as to prevent a party from

acting in its own interests even if the result is to incidently [sic] lessen the value the other party

expected to receive from the contract.” Gruppo, Levey & Co. v. ICOM Info. & Communs., Inc.,

2003 U.S. Dist. LEXIS 11213, at *28 (S.D.N.Y. July 1, 2003) (citing M/A-Com Sec. Corp. v.

Galesi, 904 F.2d 134, 136 (2d Cir. 1990)). See also Ari & Co. v. Regent Int'l Corp., 273 F. Supp.

2d 518, 522 (S.D.N.Y. 2003) (“The Second Circuit has indicated that it is the ‘intent and reasonable

expectations’ of parties entering into a given contract that fix the boundaries of the covenant of

good faith and fair dealing, provided that those expectations are consistent with the express terms

of the contract.”); Granite Partners, L.P. v. Bear, Stearns & Co. Inc., 17 F. Supp. 2d 275, 306

(S.D.N.Y. 1998) (holding that the duty of good faith and fair dealing “cannot be used to create

independent obligations beyond those agreed upon and stated in the express language of the

contract[s].”).

        Here, the parties specifically identified in the Agreements the competitive activity VDG

was barred from, which included “enter[ing] into any agreement or relationship with any third

party to design, develop and/or manufacture a stationary exercise bicycle that does not have a




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freewheel (commonly called a ‘spin’ bike) that is physically integrated with a device that is capable

of displaying exercise and/or instructional content and/or communicating with users of other

stationary bicycles.” (Doherty Decl. Ex. 45 § 6.1; see also Ex. 17 § 3.2(c).) The Agreements do

not bar VDG from other conduct competitive with Peloton. Thus, inferring a duty of good faith

and fair dealing that would prohibit VDG from competing with Peloton in a manner not specified

in the parties’ agreement “would be inconsistent with other terms of the contractual relationship.”

Dalton v. Educ. Testing Serv., 87 N.Y.2d 384, 389 (1995).

       Indeed, VDG was already in the business of designing fitness bike frames when it entered

into the Agreements with Peloton; that is why Peloton first approached VDG. (R. 56.1 ¶¶ 47-49.)

The non-compete provision of the Agreements is narrowly tailored to reflect that reality. For

instance, the provision explicitly excludes from its scope “working with, and/or continuing to work

with, any entity that is a client of Villency’s as of the effective date of this agreement for the

manufacture and distribution of stationary bicycles (‘Competitive Bikes’), provided that the

Competitive Bikes do not [include certain interactive features].” (Doherty Decl. Ex. 17 § 3.2(c),

Ex. 45 § 6.1.) Peloton cannot now re-negotiate and expand this provision, via a claim for breach

of the duty of good faith and fair dealing, to bar VDG from conduct it was not specifically barred

from under the Agreements.

       Moreover, simply because parties are in a contractual relationship does not mean that they

are prohibited from acting in their own self-interest, so long as they do not violate the express

terms of the contract:

               Plaintiffs have no support for the broad proposition that an entity violates
               the implied covenant of good faith and fair dealing by acting in its own self-
               interest consistent with its rights under a contract. Indeed, courts have
               refused attempts to impose liability on a party that engaged in conduct
               permitted by a contract, even when such conduct is allegedly unreasonable.




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Suthers v. Amgen Inc., 441 F. Supp. 2d 478, 485 (S.D.N.Y. 2006); Ray Legal Consulting Grp. v.

DiJoseph, 37 F. Supp. 3d 704, 726 (S.D.N.Y. 2014) (“Although Plaintiff does allege that Arent

Fox ‘refused to release the funds in bad faith, and with a bias for their self-interest in maintaining

the confidentiality of the Settlement Agreement ...,’ that allegation bespeaks neither malevolent

conduct nor a purposeful scheme designed to deprive Plaintiff of receiving the escrowed funds.

Rather, because Arent Fox was ‘acting in [its] own self-interest consistent with [its] rights under

[the] contract,’ it did not breach the covenant of good faith and fair dealing.”). As the Second

Circuit has explained, “even after you have a signed contract, you are not obliged to become an

altruist toward the other party.” Fasolino Foods Co. v. Banca Nazionale del Lavoro, 961 F.2d

1052, 1057 (2d Cir. 1992); M/A–COM Sec. Corp. v. Galesi, 904 F.2d 134, 136 (2d Cir. 1990)

(holding that a court may not construe the covenant of good faith and fair dealing to “undermine a

party’s general right to act on its own interests in a way that may incidentally lessen the other

party’s anticipated fruits from the contract.”).

       The parties’ Agreements also specifically itemized the services VDG would provide in

exchange for specified payments and there is no dispute that VDG provided those services to

Peloton. (R.56.1 ¶¶ 83-84, 98-99.) Therefore, Peloton was not denied the “benefit of its bargain”

under the Agreements. See Konecranes, Inc. v. Cranetech, Inc., No. 03 Civ. 6082, 2005 WL

246916, at *3 (W.D.N.Y. Feb. 2, 2005) (holding that conduct that “deprives the plaintiff of the

benefit of the bargain” can constitute a breach of the duty of good faith and fair dealing). In

particular, VDG designed for Peloton a unique and eye-catching bike frame, which has contributed

to Peloton’s success in becoming a multi-billion-dollar company. (R.56.1 ¶ 77.) VDG also agreed

to provide                                                  and repair services. (See id. ¶¶ 56-59, 91-

92.) As discussed above, with respect to Peloton’s fraudulent concealment claim, Peloton’s




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founders admitted that they received from VDG exactly what they bargained for under the

Agreements, VDG performed its obligations in full, Peloton paid VDG in full, and Peloton never

served a default notice or terminated the Agreements. (Id. ¶¶ 83-84, 98-99.) VDG did not promise

to provide – and was not paid to provide – any other benefit and, conversely, Peloton was not

entitled to receive any other benefit from VDG’s contractual services. See Interallianz Bank AG v.

Nycal Corp., Civil No. 93-5024, 1994 WL 177745, at *8 (S.D.N.Y. May 6, 1994) (“The covenant

[of good faith and fair dealing] does not create duties which are not fairly inferable from the

express terms of that contract.”) (citing Fasolino Foods Co. v. Banca Nazionale del Lavoro, 961

F.2d 1052, 1056 (2d Cir. 1992)). Peloton – which is now valued at billions of dollars – was not

denied any benefit it was entitled to under the parties’ Agreements.

       To be sure, there was a risk that someone would assert the ‘513 Patent against Peloton.

Peloton has known about that risk since about April 2012 (R.56.1 ¶ 104) – long before Peloton

entered into the 2014 Agreement. Peloton hired patent counsel, and in 2013, that counsel advised

                                                                                     Peloton then

affirmatively decided not to acquire the Patent and to make the investment necessary to develop

the Peloton Bike and to bring the product to market. (Id. ¶¶ 106-109.) This decision-making had

nothing to do with VDG. Peloton did not pay VDG to be its intellectual property counsel, and the

parties’ Agreements did not implicitly give rise to any obligation (otherwise absent from the

explicit terms of the parties’ contracts) for VDG to share with Peloton a different assessment of

the ‘513 Patent, because VDG was neither Peloton’s patent expert nor its fiduciary. See Market St.

Assocs. Ltd. Partnership v. Frey, 941 F.2d 588, 593–94 (7th Cir. 1991) (“In fact the law

contemplates that people frequently will take advantage of the ignorance of those with whom they




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contract, without thereby incurring liability. The duty of honesty, of good faith even expansively

conceived, is not a duty of candor.”) (Posner, J.) (citation to Restatement omitted). 5

       The ‘513 Patent exists and Peloton’s product either infringes it or it does not. If it does,

then Peloton owes the patentholder compensation. When Peloton chose to invest and develop the

product, and then not to purchase the ‘513 Patent, Peloton took a calculated risk that the Patent

was invalid or did not infringe. The Court will determine if Peloton was right or wrong, but the

reality is that Peloton is in no different a position vis-à-vis the ‘513 Patent now that VRO owns the

Patent, as compared to anyone else: If the Peloton Bike infringes, then Peloton owes someone

compensation. The parties’ Agreements include no provision preventing VRO from being the one

to collect that compensation, and Peloton cannot invent a new contract provision that excuses

Peloton from paying it. Therefore, VDG is entitled to summary judgment on Peloton’s cause of

action for breach of a duty of good faith and fair dealing.

IV.    VILLENCY, COFFEY, AND VRO ARE ENTITLED TO SUMMARY JUDGMENT
       ON PELOTON’S CLAIM FOR TORTIOUS INTERFERENCE WITH CONTRACT.

       Peloton asserts a counterclaim against VRO and a third-party claim against Coffey and

Villency for intentional interference with contract. These claims fail because there was no

interference, no breach of the Agreements, and no proximately caused damages.

       In order to prove a claim for tortious interference with contract, a plaintiff must prove “the

existence of a valid contract between the plaintiff and a third party, defendant’s knowledge of that

contract, defendant’s intentional procurement of the third-party’s breach of the contract without

justification, actual breach of the contract, and damages resulting therefrom.” See Lama Holding



5
 Coffey and Villency also advised Peloton of the purchase of the Patent immediately after it was
assigned to VR Optics and offered to license it to Peloton before anyone else. Even at that point,
before this litigation began, Peloton declined. (See R.56.1 ¶¶ 122-123.) Whatever damage Peloton
claims, Peloton brought on itself.


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Co. v. Smith Barney Inc., 88 N.Y.2d 413, 424 (1996). As discussed above, VDG did not breach

the Agreements and, therefore, neither VRO, Coffey nor Villency tortiously interfered with the

Agreements. Further, even if the representation that the Bike Intellectual Property did not infringe

any existing intellectual property were not true, neither Coffey, Villency, nor VRO caused that

alleged breach. The ‘513 Patent exists, and the Peloton Bike and Tread infringe the Patent, no

matter whether VRO or someone else had bought the Patent and asserted it. Buying and asserting

the Patent was not the cause of any alleged breach of contract. See, e.g., State St. Bank & Tr. Co.

v. Inversiones Errazuriz Limitada, 374 F.3d 158, 171 (2d Cir. 2004) (noting that that defendant’s

actions must be the “proximate cause” of the breach of contract). Moreover, Peloton would owe

compensation to whoever owns the ‘513 Patent, be it VRO or anyone else, and cannot establish

damages proximately caused by any tortious interference. See, e.g., Alaska Elec. Pension Fund v.

Bank of Am. Corp., 175 F. Supp. 3d 44, 65 (S.D.N.Y. 2016) (holding that plaintiff must prove

“damages proximately caused by the Defendant's conduct”). Therefore, VRO, Coffey and Villency

are entitled to summary judgment on the claim for tortious interference with contract.

                                         CONCLUSION

       For the reasons stated above, Third-Party Defendants respectfully request that the Court

enter summary judgment in their favor and against Peloton on all of Peloton’s third-party claims.

Further, VRO respectfully requests that the Court enter summary judgment in its favor and against

Peloton on Peloton’s third counterclaim for intentional interference with contractual relationship.




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                                             Respectfully submitted,

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